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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT of CALIFORNIA
                                WESTERN DIVISION (LOS ANGELES)

                       CIVIL ACTION NO: 2:24-cv-01631-MWF-PVC



  BRANDON JOE WILLIAMS®,

                   Plaintiff,
                                                    Honorable Judge Michael W. Fitzgerald
         v.                                           Magistrate Judge Pedro V. Castillo

  AMERICAN EXPRESS COMPANY;
  AMERICAN EXPRESS KABBAGE
  INC.
          Defendants.




        OBJECTION TO THE COURT’S ORDER DATED August 26, 2024 (dkt. 39)

 TO THE HONORABLE JUDGE OF SAID COURT:

        Plaintiff, BRANDON JOE WILLIAMS®, hereby objects to the Court's Order dated

 August 26, 2024 (Dkt. 39), striking Plaintiff’s Notice of Motion and Motion to Enter Final

 Judgment, and in support thereof states as follows:


    1. Court's July 10, 2024 Order (Dkt. 30) - Judgment vs. Final Judgment:

              o   The Court’s Order dated July 10, 2024 (Dkt. 30) stated, “This Order shall

                  constitute notice of entry of judgment pursuant to Federal Rule of Civil Procedure

                  58. Pursuant to Local Rule 58-6, the Court ORDERS the Clerk to treat this Order,

                  and its entry on the docket, as an entry of judgment.”

              o   While this language directed the Clerk to treat the order as an entry of judgment,

                  it is important to note that this Order constituted a Judgment and not a Final
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             Judgment. The Plaintiff specifically requested the entry of a Final Judgment to

             initiate an appeal.

         o   The distinction between a Judgment and a Final Judgment is critical, as the latter

             is necessary to trigger the appeal process under the Federal Rules of Appellate

             Procedure. The Plaintiff's right to appeal hinges on the issuance of a Final

             Judgment, which has not been provided despite Plaintiff’s request.

         o   Additionally, the Plaintiff is confused by the recent Court's Order (Dkt. 39) which

             states, "This case was closed and judgment was entered on 7/10/2024." The

             Plaintiff believes that the Judge has erred in this statement, as not all matters were

             resolved, and thus a Final Judgment was neither entered on July 10, 2024, nor has

             it been entered on the docket subsequently.

         o   The need for a Final Judgment before an appeal can be initiated is well

             established by the U.S. Supreme Court. In Catlin v. United States, the Court held

             that a “final decision” is one that ends the litigation on the merits and leaves

             nothing for the court to do but execute the judgment (Catlin v. United States, 324

             U.S. 229, 233 (1945)). Similarly, in Firestone Tire & Rubber Co. v. Risjord, the

             Court reinforced that an appeal generally cannot be taken until after a final

             judgment is entered, emphasizing that interlocutory orders are not typically

             appealable (Firestone Tire & Rubber Co. v. Risjord, 449 U.S. 368, 374 (1981)).

         o   Additionally, the Supreme Court in Digital Equipment Corp. v. Desktop Direct,

             Inc. confirmed the importance of the final judgment rule in maintaining the

             efficiency of the judicial process and preventing piecemeal appeals (Digital

             Equipment Corp. v. Desktop Direct, Inc., 511 U.S. 863, 867 (1994)).
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    2. Federal Rule of Civil Procedure 58(a) - Separate Document Requirement:

            o   Federal Rule of Civil Procedure 58(a) mandates that every judgment and amended

                judgment must be set out in a separate document, except for certain specified

                motions. The Order dated July 10, 2024, does not fall within any of the exceptions

                listed under Rule 58(a).

            o   Therefore, the Plaintiff believes that the rule's language makes it clear that the

                entry of judgment must be in a separate document, ensuring clarity and procedural

                correctness, especially in the context of initiating an appeal.

    3. Federal Rule of Civil Procedure 58(d) - Request for Entry:

            o   Under Rule 58(d), a party may request that judgment be set out in a separate

                document as required by Rule 58(a). Exercising this right, Plaintiff filed a Notice

                and Motion to Enter Final Judgment, as the entry of Final Judgment by a separate

                document had not occurred.

            o   Plaintiff’s filing was a rightful and procedurally appropriate action to secure the

                proper entry of Final Judgment, consistent with the Federal Rules of Civil

                Procedure, thereby safeguarding Plaintiff’s right to appeal.


 RELIEF REQUESTED:


        Based on the foregoing, Plaintiff respectfully requests that this honorable court reverse

 the Court's Order dated August 26, 2024 (Dkt. 39), and allow the Plaintiff's filing at Docket 38 to

 remain on the docket as a viable filing. Additionally, Plaintiff requests that the Court reconsider

 its Order and permit the entry of a Final Judgment by a separate document in accordance with

 Federal Rule of Civil Procedure 58, ensuring the Plaintiff’s ability to proceed with an appeal.
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 August 28, 2024                               RESPECTFULLY SUBMITTED,


                                               BRANDON JOE WILLIAMS®

                                               BY: /s/ Brandon Joe Williams
                                               Brandon Joe Williams, Agent, Pro Se
                                               P.O. Box 1962
                                               Glendale, California 91209
                                               brandon@williamsandwilliamslawfirm.com
                                               (213) 309-7138

                               Certificate of Service

        Plaintiff certifies that on August 28th, 2024, the foregoing OBJECTION was
 filed with the Clerk of this Court via ECF. I further certify that, as of the same
 date, all counsel of record below were served with a copy via email and ECF.

 Distribution:

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